         Case
          Case2:22-ap-01269-BR
               2:22-ap-01269-BR Doc
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                                                                                     Desc
                                 Main
                                   AP-Summons
                                      Document PagePage1 1ofof3 4


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Asa S Hami
Greenspoon Marder LLP
333 S.Grand Avenue
Ste 3400
Los Angeles, CA 90071
213−626−2311




Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:20−bk−21022−BR

Girardi Keese                                                                 CHAPTER:     7


                                                                              ADVERSARY NUMBER:         2:22−ap−01269−BR
                                                               Debtor(s).

Elissa D Miller, Chapter 7 Trustee


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
LATOSHA LOVELL, an individual                                                        PROCEEDING [LBR 7004−1]

                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
01/30/2023. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 11, 2023
             Time:                10:00 AM
             Hearing Judge:       Barry Russell
             Location:            255 E Temple St., Crtrm 1668, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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      Case
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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: December 29, 2022




                                                                                        By:        "s/" Stacey Fortier
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
333 South Grand Avenue, Suite 3400, Los Angeles, CA 90071

A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled: Complaint For (1) Avoidance And
 Recovery Of Fraudulent Transfers, (2) Preservation Of Fraudulent Transfers, And (3) Disallowance Of Claims;
_________________________________________________________________________________________________
 (3) Notice Of Compliance With LBR 7026-1 and 7026 OF FRBP; (4) Judge Russell's Procedural Notice
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  12/30/2022
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                     X
                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              12/30/2022        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                     X
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/30/2022                  Cheryl Caldwell                                                          /s/Cheryl Caldwell
 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                    ADDITIONAL SERVICE INFORMATION (if needed):




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Asa S Hami on behalf of Plaintiff Elissa D Miller, Chapter 7 Trustee
asa.hami@gmlaw.com, ahami@ecf.courtdrive.com;patricia.dillamar@gmlaw.com;pdillamar@ecf.courtdrive.com

Daniel A Lev on behalf of Plaintiff Elissa D Miller, Chapter 7 Trustee
daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

Elissa Miller (TR)
CA71@ecfcbis.com,
MillerTrustee@gmlaw.com;C124@ecfcbis.com;cheryl.caldwell@gmlaw.com;cheryl.caldwell@ecf.courtdrive.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL:

Defendant:

Latosha Lovell
515 Orange Grove Circle, Unit 225
Pasadena, California 91105
